                                       Redacted




From: Hartstein, Barry A. <BHartstein@littler.com>
Sent: Monday, March 02, 2020 4:20 PM
To: TODD CHAVEZ <TODD.CHAVEZ@EEOC.GOV>
Cc: AMY BURKHOLDER <AMY.BURKHOLDER@EEOC.GOV>; Kitson, Danielle L. <DKitson@littler.com>; MARTIN EBEL
<MARTIN.EBEL@EEOC.GOV>; JUSTIN MOORE <JUSTIN.MOORE@EEOC.GOV>; MARY ONEILL
<MARY.ONEILL@EEOC.GOV>
Subject: RE: Frontier Airlines




                                               Page 1
                                             EXHIBIT 6
Investigator Chavez- Based on the unique situation of the notices of right to sue being issued to the charging
parties, and a private lawsuit being filed, the parties are now scheduling a mediation of the dispute. The ACLU
has been in touch with Regional Attorney O’Neill regarding this matter.

In short, it would be a waste of time and expense to distract the parties from the current objective, which is the
settlement of this matter. Any continuation of the investigation at this juncture would seriously jeopardize
potential settlement. This matter has been reviewed with the EEOC’s COO, Marty Ebel, at headquarters. The
EEOC’s Chair, Janet Dhillon, also has underscored her commitment to the resolution of EEOC claims.

Based on all these considerations, the sole action that will be taken by the Company at this time will be
preparing for the resolution of this matter. Any interviews by the EEOC or further responses to any EEOC
requests for information will not proceed at this juncture, pending the outcome of the upcoming settlement
discussions.

Please do not hesitate to give me a call if you have any questions.

Regards,

Barry

Barry Hartstein, CoͲChair, EEO & Diversity Practice
Shareholder
312.795.3260 direct, 312.504.8776 mobile
BHartstein@littler.com




Labor & Employment Law Solutions | Local Everywhere
321 North Clark Street, Suite 1000, Chicago, IL 60654




From: TODD CHAVEZ <TODD.CHAVEZ@EEOC.GOV>
Sent: Monday, March 2, 2020 4:41 PM
To: Hartstein, Barry A. <BHartstein@littler.com>
Cc: AMY BURKHOLDER <AMY.BURKHOLDER@EEOC.GOV>; Kitson, Danielle L. <DKitson@littler.com>; MARTIN EBEL
<MARTIN.EBEL@EEOC.GOV>; JUSTIN MOORE <JUSTIN.MOORE@EEOC.GOV>
Subject: RE: Frontier Airlines

Mr. Harstein,

Thank you for the email.

The Subpoena Determination (Determination) was very clear and stated, “Frontier will provide the
responsive information and documents to the EEOC 's Denver Field Office within 21 days of the date
of this determination. Within 7 days of the date of this determination , Frontier will contact the
EEOC to reschedule the interviews of Messrs. Rex and Arellano, to be completed under oath and
subject to audio recording on mutually-agreed dates .”

                                                        Page 2
Based on your email, I understand Frontier will not be producing the witnesses named in the
Determination or in any other request. Please let me know if I am wrong.

Also, Will Frontier be providing the responsive information and documents to the EEOC 's Denver
Field Office within 21 days from the date of the Subpoena Determination? Please let me know.

Respectfully,


Todd Chávez
Federal Investigator
United States Equal Employment Opportunity Commission
303 East 17th Avenue
Fourth Floor, Suite 410
Denver, CO 80203
Email: Todd.Chavez@EEOC.Gov
Direct: 303.866.1383
Fax: 303.866.1085

********************************************************
This email communication may contain CONFIDENTIAL INFORMATION WHICH ALSO MAY BE LEGALLY
PRIVILEGED and is intended only for the use of the intended recipients identified above. If you are not the
intended recipient of this communication, you are hereby notified that any unauthorized review, use,
dissemination, distribution, downloading, or copying of this communication is strictly prohibited. If you are
not the intended recipient and have received this communication in error, please immediately notify us by
reply email, delete the communication and destroy all copies.
********************************************************




                                        Redacted




                                                  Page 3
